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                                  19107




                   EXHIBIT 2
        Case 3:17-cv-00072-NKM-JCH Document 1150-2 Filed 10/04/21 Page 2 of 7 Pageid#:
                                          19108



From:                              Bolton, Eric
Sent:                              Wednesday, September 11, 2019 12:55 PM
To:                                jgravatt@dhdglaw.com; dhauck@dhdglaw.com; dcampbell@dhdglaw.com;
                                   bryan@bjoneslegal.com; isuecrooks@comcast.net; jek318@gmail.com;
                                   edward@rebrooklaw.com; dinuccilaw@outlook.com; Eli.F.Mosley@gmail.com;
                                   matthew.w.heimbach@gmail.com; dillon_hopper@protonmail.com
Cc:                                Levine, Alan; Michael Bloch; Roy III, Daniel P.
Subject:                           Sines et al v. Kessler et al - W.D. Va. Case 3:17-cv-00072-NKM-JCH
Attachments:                       Subpoena.zip


On behalf of Plaintiffs’ Counsel attached please find a copy of the Subpoena to Testify at a Deposition in a Civil Action
that will be served upon Thomas R. Rousseau

Eric Bolton
Cooley LLP




                                                             1
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                                  19109
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                                  19110
Case 3:17-cv-00072-NKM-JCH Document 1150-2 Filed 10/04/21 Page 5 of 7 Pageid#:
                                  19111
Case 3:17-cv-00072-NKM-JCH Document 1150-2 Filed 10/04/21 Page 6 of 7 Pageid#:
                                  19112
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                                  19113




 Thomas Ryan Rousseau
 September 10, 2019
 Page Two

                           is as follows: Profile Data, Followers, Following, Tweets (and retweets), Replies,
                           Notifications, Messages (Direct Messages or “DMs”), Any other items we would
                           expect to find if we were viewing your live twitter account with full access and
                           control.

                          (b) list the discovery vendor’s email address as the email address where the
                           content     and    data   should    be    sent                            and
                                             ). (Note that in the section entitled, “The email address
                           associated with your Twitter account”, the account-holder must enter the email
                           address associated with their suspended Twitter account -- not the discovery
                           vendor’s email address.)

              o   It is important that the consent form is submitted via email before the privacy form request
                  is submitted. After Twitter receives and validates both the paper consent form and the
                  privacy form request, Twitter will email any requested and reasonably available content
                  and data to the third-party discovery vendor.

        Comply immediately with each of the following provisions in the Stipulation and Order for the
         Imaging, Preservation and Production of Documents, ECF No. 383 (“Imaging Order”), as required
         by the Court’s Orders of November 19, 2018, ECF No. 383 (see Exhibit 9 attached hereto) and
         March 4, 2019, ECF No. 440 (see Exhibit 10 attached hereto):

              o   Execute the Third-Party Discovery Vendor contract. That contract will be sent to you by
                  the third-party vendor via e-mail.

              o   Complete and provide to Plaintiffs’ counsel the Certification Form attached as Exhibit A to
                  the Imaging Order, ECF No. 383, at 16. That document is attached hereto as Exhibit 11.

              o   Make available to the Third-Party Discovery Vendor for imaging and collection any
                  Electronic Devices or Social Media Account identified in the Defendant’s Certification Form.
                  For any questions, contact Ken      at                     .

 If there is any other way we can help facilitate your cooperation in this discovery process, feel free to contact
 me at this address.

                                                                                   Sincerely,

                                                                                   /s/ Alan Levine
                                                                                   Alan Levine

                                                                                   Counsel for Plaintiffs




                                  Cooley LLP 55 Hudson Yards New York, NY 10001-2157
                                       t: (212) 479-6000 f: (212) 479-6275 cooley.com
